960 F.2d 147
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James William THOMAS, Plaintiff-Appellant,v.Herb LIGHTNER, Sheriff;  Harold Griffin, Deputy;  LewisShumate, Deputy, Defendants-Appellees.
    92-6137.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 6, 1992April 17, 1992
    
      James William Thomas, Appellant Pro Se.  J. Ross Newell, III, Timberlake, Smith, Thomas &amp; Moses, P.C., Staunton, Virginia, for Appellees.
      Before ERVIN, Chief Judge, and MURNAGHAN and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      James William Thomas appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  Thomas v. Lightner, No. CA-91-571-R (W.D. Va.  Dec. 9, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         In light of our disposition, we deny Thomas's Motion to Obtain Psychiatric Records
      
    
    